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FILED

UNITED STATES DISTRICT COURT
DENVER, COLORADO

FEB 28 2019

IN THE UNITED STATES DISTRICT COURT JEFFREY P. COLWELL
FOR THE DISTRICT OF COLORADO CLERK

 

Civil Action No. Li 19 -cv- DOGS GIG
(To be supplied by the court)

emmeth wi ram lew s el , Plaintiff

v.
tce of Yhe Ge c ures 2s) ,
Oi cet the CO AttornesGenrecal Cand sureties)

Cc. Surehies ,

, Defendant(s).

(List each named defendant on a separate line. If you cannot fit the names of all defendants in
the space provided, please write “see attached” in the space above and attach an additional
sheet of paper with the full list of names. The names of the defendants listed in the above
caption must be identical to those contained in Section B. Do not include addresses here.)

 

(& med ed) | COMPLAINT

 

 

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the
last four digits of a social security number; the year of an individual’s birth; a minor’s initials;
and the last four digits of a financial account number.

Plaintiff need not send exhibits, affidavits, grievances, witness statements, or any other :
materials to the Clerk’s Office with this complaint.

 

 

 
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A. PLAINTIFF INFORMATION
You must notify the court of any changes to your address where case-related papers may be
served by filing a notice of change of address. Failure to keep a current address on file with the

court may result in dismissal of your case.

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(Name and complete mailing address)
UWA-265-3¢10 [seakersttest 0 2p tcril -CeOre
(Telephone number 4nd e-mail address)

B. DEFENDANT(S) INFORMATION

Please list the following information for each defendant listed in the caption of the complaint. If

more space is needed, use extra paper to provide the information requested. The additional

pages regarding defendants should be labeled “B. DEFENDANT(S) INFORMATION.”
OfErcae ofthe Co Gouerpnot

Defendant 1: A2A®OO EB. Colfa x
(Name and complete mailing address)

(303) ~ Seu -347I

(Telephone number and e-mail address if known)

OFF, ce ot We CO Prorne a Genera \

Defendant2: _!300 Be oy Q 3
(Name and complete mraiing address)

(920): Sn8- booo

(Telephone number and e-mail address if known)

OF rae othe ZO Public Ubilibtes Commission

Defendant3: _ 15 6O Breadwaut2s'O | Neauer, CO 40202
(Name and complete mailiif&&Address) /

L303 )-344~ 2000

(Telephone number and e-mail address if known)

 

 

Defendant 4:

 

(Name and complete mailing address)

 

(Telephone number and e-mail address if known)
Case 1:19-cv-00163-LTB Document 14 Filed 02/28/19 USDC’Colorado Page 3 of 6°

C. JURISDICTION
Identify the statutory authority that allows the court to consider your claim(s): (check-one)

 

 

 

,| Federal question pursuant to 28 U.S.C. § 1331 (claims arising under the Constitution,

 

laws, or treaties of the United-States)

List the specific federal statute, treaty, and/or provision(s) of the United States
Constitution that are at issue in this case.

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Sioil Rights Rest LST Uy brary (2. OS.c, cy LISS Federal St thy}

Diversity of citizenship pursuant to 28 U.S.C. § 1332 (a matter between individual or
corporate citizens of different states and the amount in controversy exceeds $75,000)

“

 

 

 

 

 

Plaintiff is a citizen of the State of

 

If Defendant 1 is an individual, Defendant 1 is a citizen of _.

If Defendant 1 is a corporation,

Defendant 1 is incorporated under the laws of (name of
state or foreign nation).

.Defendant | has its principal place of business in (name of
state or foreign nation).

(Uf more than one defendant is named in the complaint, attach an additional page
providing the same information for each additional defendant.)
Casé 1:19-cv-00163-LTB Document 14 Filed 02/28/19 USDC Colorado Page 4 of 6 4

D. STATEMENT OF CLAIM(S)

State clearly and concisely every claim that you are asserting in this action. For each claim,
specify the right that allegedly has been violated and state all facts that support your claim,
:including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person was involved in each
claim. You do not need to cite specific legal cases to support your claim(s). If additional space
is needed to describe any claim or to assert additional claims, use extra paper to continue that
claim or to.assert the, additional claim(s). Please indicate that additional paper is attached and
label the additional pages regarding the statement of claims as “D. STATEMENT OF CLAIMS.”

CLAIM ONE: Treaty of VeacetYriewshia 4 Treats, of Peace and Am he

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CLAIM TWO: €3y'\ Rights Rel |S T1- (per) 42, U. 6,0. 314%

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E. REQUEST FOR RELIEF

State the relief you are requesting or what you want the court to do. If additional space is needed
to identify the relief you are requesting, use extra paper to request relief. Please indicate that
additional paper is attached and label the additional pages regarding relief as “E. REQUEST
FOR RELIEF.”

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F. PLAINTIFF’S SIGNATURE

I declare under penalty of perjury that I am the plaintiff in this action, that I have read this
complaint, and that the information in this complaint is true and correct. See 28 U.S.C. § 1746;
18 U.S.C. § 1621.

Under Federal Rule of Civil Procedure 11, by signing below, I also certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.

Sep Signature) Witheuwt pret udios

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(Revised December 2017)
